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                        Attorneys for Receiver
                     12 Thomas A. Seaman
                     13                               UNITED STATES DISTRICT COURT
                     14                             CENTRAL DISTRICT OF CALIFORNIA
                     15                                      WESTERN DIVISION
                     16 SECURITIES AND EXCHANGE                      Case No. 2:15-cv-07425 RGK PLA
                        COMMISSION,
                     17                                              NOTICE OF HEARING ON
                                   Plaintiff,                        TWENTY-FOURTH INTERIM FEE
                     18                                              APPLICATIONS OF THE
                             v.                                      RECEIVER AND HIS
                     19                                              PROFESSIONALS FOR PAYMENT
                        STEVE CHEN, USFIA, INC.,                     OF FEES AND REIMBURSEMENT
                     20 ALLIANCE FINANCIAL                           OF EXPENSES
                        GROUP, INC., AMAUCTION, INC.,                Date:      September 26, 2022
                     21 ABORELL MGMT I, LLC, ABORELL
                                                                     Time:      9:00 a.m.
                     22 ADVISORS I, LLC, ABORELL                     Ctrm.:     850
                        REIT II, LLC, AHOME REAL                     Judge:     Hon. R. Gary Klausner
                     23 ESTATE, LLC, ALLIANCE
                        NGN, INC., APOLLO REIT I, INC.,
                     24 APOLLO REIT II, LLC, AMKEY, INC.,
                     25 US CHINA CONSULTATION
                        ASSOCIATION, and QUAIL RANCH
                     26 GOLF COURSE, LLC,
                     27                        Defendants.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4861-5187-8191.1
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                      1                TO ALL INTERESTED PARTIES:
                      2                PLEASE TAKE NOTICE that on September 26, 2022, at 9:00 a.m. in
                      3 Courtroom 850 of the above-entitled Court, located at 255 East Temple Street,
                      4 Los Angeles, California 90012-3332, the Court will consider the interim applications
                      5 of Thomas A. Seaman ("Receiver"), the Court-appointed permanent receiver for
                      6 Defendants USFIA, Inc., Alliance Financial Group, Inc., Amauction, Inc., Aborell
                      7 Mgmt I, LLC, Aborell Advisors I, LLC, Aborell REIT II, LLC, Ahome Real
                      8 Estate, LLC, Alliance NGN, Inc., Apollo REIT I, Inc., Apollo REIT II, LLC,
                      9 Amkey, Inc., US China Consultation Association, Quail Ranch Golf Course, LLC,
                     10 and their subsidiaries and affiliates (collectively, "Receivership Entities") and his
                     11 general counsel, Allen Matkins Leck Gamble Mallory & Natsis LLP ("Allen
                     12 Matkins"), for approval and payment of fees and expenses ("Applications").
                     13                The following table summarizes the fees incurred, interim payment requested,
                     14 and costs requested by the Receiver and Allen Matkins for the period January 1,
                     15 2022, through June 30, 2022:
                     16                  Applicant          Fees          Interim         Costs         Total
                     17                                   Incurred       Payment                      Payment
                                                                         Requested                    Requested
                     18
                                 Thomas A. Seaman, $205,579.00          $185,021.10         $0.00    $185,021.10
                     19          Receiver                                    (90%)        (100%)
                     20          Allen Matkins Leck      $89,962.20      $71,969.76       $609.68     $72,579.44
                                 Gamble Mallory &                            (80%)        (100%)
                     21
                                 Natsis LLP,
                     22          General Counsel
                     23
                     24                Procedural Requirements: If you oppose the Applications, you are required
                     25 to file your written opposition with the Office of the Clerk, United States District
                     26 Court, 255 East Temple Street, Los Angeles, California 90012-3332 and serve the
                     27 same on the undersigned not later than 21 calendar days prior to the hearing.
                     28
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   Mallory & Natsis LLP

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                      1                IF YOU FAIL TO FILE AND SERVE A WRITTEN OPPOSITION by the
                      2 above date, the Court may grant the requested relief without further notice.
                      3
                      4 Dated: August 26, 2022                    ALLEN MATKINS LECK GAMBLE
                                                                   MALLORY & NATSIS LLP
                      5
                      6                                           By:        /s/ David R. Zaro
                                                                        DAVID R. ZARO
                      7                                                 Attorneys for Receiver
                                                                        Thomas A. Seaman
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       LAW OFFICES
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   Mallory & Natsis LLP

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